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   EXHIBIT 5
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1/20/22, 7:37 AM              King County to immediately allow
                       Case 2:20-cv-00983-TSZ                  limited openings
                                                          Document         75-5 of businesses, maintain public
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                                                                                                                                Oaksmith
                                                                                                                               1/20/2022
                                                                                                                               Lauren Harty, CCR




    News                                                                                                       King County Executive
                                                                                                                  Dow Constantine



    King County to immediately allow limited
    openings of businesses, maintain public
    health vigilance
    June 5, 2020




      Summary

    With new state health officials’ approval today, restaurants and retailers will
    be allowed to serve customers in their establishments, in addition to other
    modified openings for a wide range of businesses and activities. Public
    Health – Seattle & King County will monitor transmission trends, medical
    capacity and other key indicators to help inform further reopening decisions.



      Story

    A plan drafted by King County Executive Dow Constantine, King County Council Chair Claudia
    Balducci, and King County Board of Health Chair Joe McDermott and approved today by state
    Department of Health Secretary John Wiesman immediately allows limited and modified openings
    for a wide range of businesses, recreation, and personal activities in King County.

    Businesses are required to follow the state Department of Health’s specific guidance but must
    adjust their occupancy to the levels identified below. The State defines an establishment’s capacity
    as the fire code. The intent is to limit business operations to a level that allows for social
    distancing. Additionally, businesses in retail, professional services, and real estate must take steps
    to reduce indoor operations to thirty minutes. This is not meant to be timed to the second – no
    one is expected to have a stopwatch – but customers should be informed why it is important to
    limit close interactions.

    Here is an overview of what’s happening in key sectors across King County:

    Restaurants
      • Outdoor dining activities is allowed at 50 percent of capacity with all tables and chairs
    maintaining 6 feet of distance, though additional seating will be allowed provided it follows Public
    Health – Seattle & King County’s best practices. Restaurants will also need to go through the
    normal process within their city - or King County if the establishment is located within



https://kingcounty.gov/elected/executive/constantine/news/release/2020/June/05-phase-covid.aspx                                                    1/4
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    unincorporated King County - to seek approval to expand outdoor seating.
       • Indoor dining services may operate at 25 percent of capacity, provided such tables and chairs
    are more than 6 feet away from each other.

    In-store retail
       • All non-essential retail activities may operate but an establishment's occupancy may not be
    not be higher than 15 percent of capacity.
       • Businesses are directed to provide signage encouraging indoor visits to less than 30 minutes,
    with face-to-face interactions limited to 30 minutes.
       • Essential retail activities may continue to operate according to the existing state regulations.

    Personal services: Cosmetologists, Hairstylists, Barbers, Estheticians, Master
    Estheticians, Manicurists, Nail Salon Workers, Electrologists, Permanent Makeup Artists,
    Tattoo Artists, Cosmetology Schools and Esthetics Schools
      • All activities may operate but the number of clients served will be limited to no more than 25
    percent of capacity or one person if it is a single bed/chair studio.

    Professional services: Accountants, architects, attorneys, engineers, financial advisors,
    information technologists, insurance agents, tax preparers, and other office-based
    occupations that are typically serving a client base
       • All activities allowed but an establishment's occupancy should not be higher than 25 percent
    of capacity.
       • Businesses are directed to provide signage encouraging indoor visits to be less than 30
    minutes, with face to face interactions limited to 30 minutes.

    Construction
      • All construction, including those activities for which social distancing may not be maintained
    and the start of new construction projects, is authorized to resume.

    “This important step in our COVID-19 response reflects all the sacrifice and hard work that our
    community has put into fighting this disease. The success of this guidance depends on business
    owners and community members embracing public health best practices, and understanding that
    one size doesn’t fit all,” said Executive Constantine. “By opening our economy carefully and
    deliberately, we make sure to stay healthy and continue down the path to full recovery.”

    For more information, call Public Health's Business Compliance Line at 206-296-1608.

    Details can also be found at Safe Start King County



      Relevant links

            King County Safe State Plan Variance Application
            Public Health Insider blog post: Safe Start for King County - Working to gradually reopen the
            local economy



      Quotes




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                     Dow Constantine, King County Executive



    FOR MORE INFORMATION, CONTACT:
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      Get directions


     King County Executive
     Dow Constantine




     Read the Executive's biography




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